                                    Case 18-15580-RBR                               Doc 15              Filed 05/24/18                     Page 1 of 45


 Fill tn th1s mformat1on to 1dent1fy your case

 Debtor 1              MARIA                   ROSA                        KOROLYZEN
                       FiJSt Name                   Middle Name                      Last Name

 Debtor 2
 (Spouse,   ~filing)   First Name                   Middle Name                     Last Name


 United States Bankruptcy Court for the: Southern District of Florida

 Case number           18-15580-RB R                                                                                                                                       D    Check if this is an
                       (If known)
                                                                                                                                                                                amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. Fill out all of your schedules first; then complete the Information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


f§fi            Summarize Your Assets


                                                                                                                                                                       Your assets
                                                                                                                                                                       Value of what you own
1. Schedule AlB: Properly (Official Form 106AIB)
   1a. Copy line 55, Total real estate, from Schedule A/8 ..........................................................................................................       $         570,200.00


   1b. Copy line 62, Total personal property, from Schedule A/8 ...............................................................................................            $ _ _1~,9::....:8~5.:...:.0...:....0


   1c. Copy line 63, Total of all property on Schedule AlB .........................................................................................................                 572,185.00
                                                                                                                                                                           $


                Summarize Your Liabilities



                                                                                                                                                                       Your liabilities
                                                                                                                                                                       Amount you owe
2. ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 1060)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ........... .                                        $         538,718.85

3. Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 106EIF)
                                                                                                                                                                           $              2,117.00
   3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF .......................................... ..

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF ...................................... .
                                                                                                                                                                       +   $              6,199.26


                                                                                                                                      Your total liabilities               $         547,035.11


                Summarize Your Income and Expenses


4. Schedule 1: Your Income (Official Form 1061)
   Copy your combined monthly income from line 12 of Schedule 1..........................................................................................                  $ - - - -3,875.00
                                                                                                                                                                                    -'----

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J .................................................................................................. ..
                                                                                                                                                                              2,489.94
                                                                                                                                                                           $--- ---




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical information                                                      page 1 of2
                                         Case 18-15580-RBR                 Doc 15        Filed 05/24/18             Page 2 of 45

     Debtor 1        MARIA                        ROSA                 KOROLYZEN                     Case number (if known)   18-15580-RBR
                      First Name         Middle Name       Last Name




                     Answer These Questions for Administrative and Statistical Records

 !   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

         0     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
         GZI   Yes


     7. What kind of debt do you have?

         GZI   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
               family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         0     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



     8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.                                                               $ ------"3-'-",8'-'-7-=-5."'-o.,:_o




     9. Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:


                                                                                                              Total claim


          From Part 4 on Schedule ElF, copy the following:


         9a. Domestic support obligations (Copy line Ga.)                                                     $                   0.00


         9b. Taxes and certain other debts you owe the government. (Copy line Gb.)                            $               2,117.00

         9c. Claims for death or personal injury while you were intoxicated. (Copy line Gc.)                    $                 0.00


         9d. Student loans. (Copy line Gf.)                                                                     $                 0.00

         9e. Obligations arising out of a separation agreement or divorce that you did not report as            $                 0.00
             priority claims. (Copy line 6g.)

         9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line Gh.)            +$                     0.00


         9g. Total. Add lines 9a through 9f.                                                                    $             2,117.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of2
                                              Case 18-15580-RBR                                                    Doc 15            Filed 05/24/18     Page 3 of 45

  Fill 1n th1s 111format1on to 1dent1fy your case and th1s f1hng


  Debtor 1            MARIA                                   ROSA                                      KOROLYZEN
                      Firat Name                                     Middle Name                                 Last Name

  Debtor2
  (Spouse, Wfiling) First Name                                       Middle Name                                 Last Name


  United States Bankruptcy Court for the: Southern District of Florida

  Case number          18-15580-RBR
                                                                                                                                                                                  D   Check if this is an
                                                                                                                                                                                      amended filing

  Official Form 106AIB
  Schedule AlB: Property                                                                                                                                                                         12/15
  In each category, separately list and describe items. List an asset only once. If an asset fits In more than one category, list the asset in the
  category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
  responsible for supplying correct Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (If known). Answer every question.


                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

      0     No. Go to Part 2.
      6Zi   Yes. Where is the property?
                                                                                                          What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                                                          Gl    Single-family home                          the amount of any secured claims on Schedule D:
        1.1.    19548 S. Whitewater Ave.                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                                          0     Duplex or multi-unit building
               Street address, if available, or other description
                                                                                                          0     Condominium or cooperative                  Current value of the      Current value of the
                                                                                                          0     Manufactured or mobile home                 entire property?          portion you own?
                                                                                                          0     Land                                        $      570,200.00         $    570,200.00
                                                                                                          0     Investment property
               Weston                                           FL.              33332                                                                      Describe the nature of your ownership
               City                                            State              ZIP Code
                                                                                                          0     Timeshare
                                                                                                                                                            interest (such as fee simple, tenancy by
                                                                                                          0     Other _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                            the entireties, or a life estate), if known.
                                                                                                          Who has an Interest In the property? Check one.
                                                                                                                                                            fee simple
                Broward                                                                                   Iii Debtor 1 only
               County                                                                                     0 Debtor 2 only
                                                                                                          0 Debtor 1 and Debtor 2 only                      D   Check if this is community property
                                                                                                                                                                (see instructions)
                                                                                                          0 At least one of the debtors and another
                                                                                                          Other information you wish to add about this item, such as local
                                                                                                          property Identification number: - - - - - - - - - - - - - -
      If you own or have more than one, list here:
                                                                                                         What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


~ ~ "'~7tre-e-:-t-a. .,.d7r-es-s-.
                                                                                                         0     Single-family home                           the amount of any secured claims on ScheduleD:
                                                                                                                                                            Creditors Who Have Claims Secured by Property.
                                   ,.,-if-av-a-::il--,ab,.,.le-.-o-r-ot::-h-er-d7e-sc-n.,..·p""tio_n_    0     Duplex or multi-unit building
                                                                                                         0    Condominium or cooperative                    Current value of the      Current value of the
                                                                                                         0     Manufactured or mobile home                  entire property?          portion you own?
                                                                                                         0     Land                                         $_ _ _ _ __               $_ _ _ _ __
                                                                                                         0     Investment property
                                                                                                                                                            Describe the nature of your ownership
               City                                            State              ZIP Code
                                                                                                         0     Timeshare
                                                                                                                                                            interest (such as fee simple, tenancy by
                                                                                                         0     Other _ _ _ _ _ _ _ _ _ _ _ __               the entireties, or a life estate), if known.
                                                                                                         Who has an interest in the property? Check one.
                                                                                                         0    Debtor 1 only
               County                                                                                    0    Debtor 2 only
                                                                                                         0    Debtor 1 and Debtor 2 only                    D   Check if this is community property
                                                                                                         0    At least one of the debtors and another           (see instructions)

                                                                                                         Other information you wish to add about this item, such as local
                                                                                                         property identification number: - - - - - - - - - - - - - -


  Official Form 106AIB                                                                                   Schedule AlB: Property                                                              page 1
                                     Case 18-15580-RBR                            Doc 15           Filed 05/24/18             Page 4 of 45
Debtor 1              MARIA                    ROSA                     KOROLYZEN                               Case number (ffknown)   18-15580-RBR
                      First Name     Middle Name            last Name




                                                                         What Is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
                                                                         0   Single-family home                                    the amount of any secured claims on Schedule D:
    1.3.                                                                                                                           Creditors Who Have Claims Secured by Property.
               Street address, if available, or other description        0   Duplex or multi-unit building
                                                                         0   Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                         0   Manufactured or mobile home
                                                                                                                                   $_ _ _ _ __              $_ _ _ _ __
                                                                         0   Land
                                                                         0   Investment property
               City                            State      ZIP Code       0   Timeshare                                             Describe the nature of your ownership
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                         0   Other _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                   the entireties, or a life estate}, If known.
                                                                         Who has an interest In the property? Check one.
                                                                         0   Debtor 1 only
               County
                                                                         0   Debtor 2 only
                                                                         0   Debtor 1 and Debtor 2 only                            0    Check if this is community property
                                                                                                                                        (see instructions)
                                                                         0   At least one of the debtors and another

                                                                         Other information you wish to add about this item, such as local
                                                                         property identification n u m b e r : - - - - - - - - - - - - - -


2. Add the dollar value of the portion you own for all of your entries from Part       1, including any entries for pages
   you have attached for Part 1. Write that number here .......................................................................................      -+
                                                                                                                                                          I          570,200.00
                                                                                                                                                          .__$_ _ _ _ _ ____._
                                                                                                                                                                                     I


                Describe Your Vehicles


Do you own, lease, or have legal or equitable interest In any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   0      No
   li1   Yes


   3.1.        Make:                          Nissan                     Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
               Model:                         370Z#7576                  liZi Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                              2009                       0   Debtor 2 only
               Year:                                                                                                               Current value of the       Current value of the
                                                                         0   Debtor 1 and Debtor 2 only
               Approximate mileage:                                                                                                entire property?           portion you own?
                                                                         0   At least one of the debtors and another
               Other infonmation:
                                                                                                                                   $        10,000.00         $     0.00
               ~--------                ---   ---------   ----
                                                                         0   Check if this is community property (see                                          -------
               r~~~ents to:Am~~cr:~~t~i~.-~                                  instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                            Lex us                       Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on Schedule D:
           Model:                           RX330                        liZi Debtor 1 only                                        Creditors Who Have Claims Secured by Property.
                                            2005                         0 Debtor 2 only
           Year:                                                                                                                   Current value of the       Current value of the
                                                                         0 Debtor 1 and Debtor 2 only                              entire property?           portion you own?
           Approximate mileage: 200000                                   0   At least one of the debtors and another
           Other information:
                                                                                                                                   $         1,000.00         $   1,000.00
                                                                         0                                                                                     -------
           r~;~~nditio~
                                                                             Check If this is community property (see
                                                                             instructions)




 Official Form 106A/B                                                    Schedule AlB: Property                                                                     page 2
                                 Case 18-15580-RBR                           Doc 15          Filed 05/24/18              Page 5 of 45
 Debtor 1       MARIA                      ROSA                    KOROLYZEN                               Case number (if known)   18-15580-RBR
                 First Name      Middle Name           Last Name




    3.3.    Make:                                                   Who has an Interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                                  D Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
                                                                    D Debtor 2 only
            Year:                                                                                                              Current value of the
                                                                    D Debtor 1 and Debtor 2 only                                                         Current value of the
                                                                                                                               entire property?          portion you own?
            Approximate mileage:                                    D At least one of the debtors and another
            Other information:
                                                                                                                               $._ _ _ _ __              $._ _ _ _ __
                                                                    D Check if this is community property (see
            [-~~·                        ~~-___]                        instructions)


    3.4.    Make:                                                   Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
            Model:                                                  D   Debtor 1 only
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                    D   Debtor 2 only
            Year:                                                                                                             Current value of the       Current value of the
                                                                    D   Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                              entire property?           portion you own?
                                                                    D   At least one of the debtors and another
            Other information:
                                                    ·----,                                                                     $._ _ _ __                $._ _ _ _ __
                                                         I          D Check if this is community property (see
                                                         I
                                                                        instructions)
                                                         j



4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ~No
   DYes


    4.1.    Make:                                                  Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on ScheduleD:
            Model:
                                                                    D   Debtor 1 only
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                    D Debtor 2 only
            Year:
                                                                    D   Debtor 1 and Debtor 2 only                            Current value of the       Current value of the
            Other information:                                      D   At least one of the debtors and another               entire property?           portion you own?


                                                                    D Check If this is community property (see                $._ _ _ _ __               $._ _ _ __
                                                                        instructions)



   If you own or have more than one, list here:

    4.2.    Make:                                                  Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
            Model:
                                                                    D   Debtor 1 only
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                    D   Debtor 2 only
            Year:                                                                                                             Current value of the       Current value of the
                                                                    D   Debtor 1 and Debtor 2 only
                                                                                                                              entire property?           portion you own?
            Other information:                                      D At least one of the debtors and another
            ,~---~··-----                      ..


                                                                                                                              $_ _ _ _ __                $._ _ _ _ __
                                                                    D Check If this is community property (see
            I                                                           instructions)
            '
            L_-~--.. ~~-·--·- ~·--- -·




Official Form 106NB                                                 Schedule AlB: Property                                                                      page3
                                              Case 18-15580-RBR                                  Doc 15                 Filed 05/24/18                          Page 6 of 45
Debtor 1            MARIA                               ROSA                       KOROLYZEN                                                 Case number (ffknown)         18-15580-RBR
                     First Name               Middle Name              Last Name




                 Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest In any of the following items?
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    0       No
    !ill    Yes. Describe ......... ' Old           Appliances                                                                                                                                               250.00
                                                                                                                                                                                                    $- - - - - --
7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
              collections; electronic devices including cell phones, cameras, media players, games

    0       No                           r

    !ill    Yes. Describe .......... \ Old           Electronics                                                                                                                                    $· - - - - 250.00
                                                                                                                                                                                                               ---
B. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
              stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    !ill    No
                                     1
                                       .
    0       Yes. Describe .......... :                                                                                                                                                               $. _ _ _ _ _ __
                                         I,

                                         '
9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
              and kayaks; carpentry tools; musical instruments
    !ill    No                       .
    0       Yes. Describe .......... [                                                                                                                                                               $._ _ _ _ _ __
                                         \
10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    !ill    No
    0       Yes. Describe .......... :,                                                                                                                                                              $_ _ _ _ _ __

11.Ciothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    0       No                            1
    !ill    Yes. Describe .......... j        Everyday clothes                                                                                                                                       $· - - - - 200.00
                                                                                                                                                                                                                ---
                                          l
12.Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
    !ill    No
    0       Yes. Describe .......... ;
                                                                                                                                                                                                     $._ _ _ _ _ __

13. Non-farm animals
    Examples: Dogs, cats, birds, horses

     !ill   No
     0      Yes. Describe .......... ;                                                                                                                                                               $. _ _ _ _ _ __


14.Any other personal and household items you did not already list, including any health aids you did not list

     lia    No
     0      Yes. Give specific                                                                                                                                                                       $._ _ _ _ _ __
            information .............. ;

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       $._ _ _----'7'-"0=0.:..::.0:..:...0
    for Part 3. Write that number here ....................................................................................................................................................   -+

 Official Form 106AIB                                                                   Schedule AlB: Property                                                                                                      page4
                                            Case 18-15580-RBR                                     Doc 15                  Filed 05/24/18                     Page 7 of 45
Debtor 1             MARIA                            ROSA                         KOROLYZEN                                                   Case number (if known)   18-15580-RBR
                      First Name            Middle Name                Last Name




                 Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                     Current value of the
                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                or exemptions.

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   0      No
   ~~·····················································································································································     Cash: ...................... .    $- - - - -25.00
                                                                                                                                                                                                            --

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                      and other similar institutions. If you have multiple accounts with the same institution, list each.

   0      No
   ~Yes .................... .                                                           Institution name:


                                            17.1. Checking account:                      Chase , Account 0703                                                                                    $               200.00
                                            17.2. Checking account:                      Chase,Account2960                                                                                       $                 60.00
                                            17.3. Savings account:                                                                                                                               $
                                            17.4. Savings account:                                                                                                                               $
                                            17.5. Certificates of deposit:                                                                                                                       $
                                            17.6. Other financial account:                                                                                                                       $
                                            17.7. Other financial account:                                                                                                                       $
                                            17.8. Other financial account:                                                                                                                       $
                                            17.9. Other financial account:                                                                                                                       $




18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   6ZI    No
   0      Yes ................ .            Institution or issuer name:

                                                                                                                                                                                                 $_ _ _ _ __
                                                                                                                                                                                                 $_ _ _ _ _ __
                                                                                                                                                                                                 $_ _ _ _ _ __



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   liZi   No                                Name of entity:                                                                                                    % of ownership:
   0      Yes. Give specific                                                                                                                                    0%               %               $
          information about
          them ........................ .                                                                                                                       0%               %               $
                                                                                                                                                                0%               %               $




Official Form 106A/B                                                                   Schedule AlB: Property                                                                                                page 5
                                          Case 18-15580-RBR                          Doc 15       Filed 05/24/18         Page 8 of 45
Debtor1             MARIA                             ROSA                   KOROLYZEN                    Case number (if known)   18-15580-RBR
                      First Name          MiddteName             Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ~No
   0      Yes. Give specific              Issuer name:
          information about
          them ...................... .                                                                                                       $_ _ _ _ __
                                                                                                                                              $_ _ _ _ _ __
                                                                                                                                              $_ _ _ _ __


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   liZI   No
   0      Yes. List each
          account separately.             Type of account:          Institution name:

                                          401(k) or similar plan:                                                                             $________
                                          Pension plan:                                                                                       $. _ _ _ _ _ _ __

                                          IRA:                                                                                                $_ _ _ _ _ __
                                          Retirement account:                                                                                 $_ _ _ _ _ _ __

                                          Keogh:                                                                                              $. _ _ _ _ _ __

                                          Additional account:                                                                                 $._ _ _ _ _ _ __

                                          Additional account:                                                                                 $._ _ _ _ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   ~ No
   DYes ......................... .                             Institution name or individual:

                                          Electric:                                                                                           $_ _ _ _ _ __
                                          Gas:                                                                                                $_ _ _ _ _ __
                                          Heating oil:                                                                                        $_ _ _ _ _ __
                                          Security deposit on rental u n i t : - - - - - - - - - - - - - - - - - - - - - - - -                $_ _ _ _ _ __
                                          Prepaid rent:                                                                                       $_ _ _ _ _ __
                                          Telephone:                                                                                          $_ _ _ _ _ __
                                          Water:                                                                                              $_ _ _ _ _ __
                                          Rented furniture:                                                                                   $._ _ _ _ _ __
                                          Other:                                                                                              $._ _ _ _ _ __


23.Annultles (A contract for a periodic payment of money to you, either for life or for a number of years)

   liZI   No
   D      Yes..........................   Issuer name and description:
                                                                                                                                              $_ _ _ _ _ __
                                                                                                                                              $_ _ _ _ _ __
                                                                                                                                              $_ _ _ _ __


 Official Form 106A/B                                                         Schedule AlB: Property                                                  page 6
                                            Case 18-15580-RBR                           Doc 15         Filed 05/24/18              Page 9 of 45
Debtor 1           MARIA                                  ROSA                KOROLYZEN                              Case number (dknown)   18-15580-RBR
                      First Name            Middle Name               Last Name




24.1nterests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

   lia    No

   D      Yes ····································       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                               $_ _ _ _ __
                                                                                                                                                               $_ _ _ _ __
                                                                                                                                                               $_ _ _ _ __


25. Trusts, equitable or future Interests In property (other than anything listed In line 1), and rights or powers
    exercisable for your benefit

   lia    No
   D      Yes. Give specific          /I
          information about them ....                                                                                                                          $._ _ _ _ _ __
                                                     1

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

   lia    No
   D      Yes. Give specific          I
          information about them .... 1                                                                                                                    I$
                                                                                                                                                           I   ·---------------
                                                     !

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   D No
   lia    '!es.   Gi~e
                   specific          J Real                    Estate   Li~ense                                                                            ·$_ _ _ _ __
          mformat1on about them .... ;


Money or property owed to you?                                                                                                                                 Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

28. Tax refunds owed to you
   lia    No
   0      Yes. Give specific information                                                                                             Federal:              $._ _ _ _ __
               about them, including whether
               you already filed the returns                                                                                         State:                $._ _ _ _ __
               and the tax years ....................... .                                                                                                 $._ _ _ _ __
                                                                                                                                     Local:



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

   lia    No
   0      Yes. Give specific information .............. !
                                                        !                                                                           Alimony:                   $_ _ _ _ __
                                                                                                                                    Maintenance:               $_____________
                                                                                                                                    Support:                   $_____________
                                                                                                                                    Divorce settlement:        $_____________
                                                                                                                                  ! Property settlement:       $_____________

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
   liZi   No
   D      Yes. Give specific information ............... :
                                                                                                                                                               $._ _ _ _ _ __



 Official Form 106AIB                                                             Schedule AlB: Property                                                                  page 7
                                          Case 18-15580-RBR                                       Doc 15                Filed 05/24/18                          Page 10 of 45
 Debtor 1           MARIA                              ROSA                            KOROLYZEN                                             Case number        wknown) 18-15580-RB R
                      First Name           MiddteName                      Last Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     ~No
     0      Yes. Name the insurance company            Company name:                                                                             Beneficiary:                                      Surrender or refund value:
                 of each policy and list its value ...
                                                                                                                                                                                                   $_ _ _ _ __
                                                                                                                                                                                                   $_ _ _ _ _ __
                                                                                                                                                                                                   $_ _ _ _ _ __

32. Any Interest In property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
     1;21 No
     0      Yes. Give specific information ............. .
                                                                                                                                                                                                   $_ _ _ _ _ __


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     liZI   No
     0      Yes. Describe each claim ..................... [ --
                                                                       I                                                                                                                           $, _ _ _ _ _ __
                                                                       L

34. Other contingent and unliquidated claims of every nature, Including counterclaims of the debtor and rights
    to set off claims
     1;21 No
     0      Yes. Describe each claim .....................)
                                                                   i                                                                                                                               $_ _ _ _ _ __



35. Any financial assets you did not already list

     liZI   No                                                     I
     0      Yes. Give specific information ............ [                                                                                                                                          $_ _ _ _ _ __


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here ...................................................................................................................................................   +                      285.00



                  Describe Any Business-Related Property You Own or Have an Interest ln. List any real estate In Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
     liZI   No. Go to Part 6.
     0      Yes. Go to line 38.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                 or exemptions.

38.Accounts receivable or commissions you already earned
     liZI   No
     0      Yes. Describe ...... .!
                                                                                                                                                                                                 f$_______
39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones. desks, chairs, electronic devices

     liZI   No
     0      Yes. Describe ...... }                                                                                                                                                               $__________



 Official Form 106AIB                                                                   Schedule AlB: Property                                                                                                pageS
                                         Case 18-15580-RBR                                      Doc 15                Filed 05/24/18                          Page 11 of 45
 Debtor 1           MARIA                             ROSA                         KOROLYZEN                                                Case number (if known)        18-15580-RBR
                      First Name           Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     li4   No
     D     Yes. Describe .......     !                                                                                                                                                         1$_ _ _ _ __


41.1nventory
   bl No                             r
     D Yes. Describe ...... -[
                                                                                                                                                                                               ~-----
42.1nterests in partnerships or joint ventures
     li4   No
     0     Yes. Describe.......          Name of entity:                                                                                                            % of ownership:
                                                                                                                                                                    _____%                      $__________
                                                                                                                                                                    ______%                     $__________
                                                                                                                                                                    ______%                     $__________


43. Customer lists, mailing lists, or other compilations
    bl No
     D     Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
                  0     No
                  0     Yes. Describe ........       I                                                                                                                                           $_ _ _ _ _ _ _


44. Any business-related property you did not already list
    0 No
     bl    Yes. Give specific
           information .........
                                          Home Listing LLC
                                         -----------=----------------------------------------------------
                                                                                                                                                                                                 $                    0.00
                                          Korolyzen Investments LLC.                                                                                                                             $                    0.00
                                          MVBG Consulting and Investment Services LLC.                                                                                                           $                    0.00
                                          Investment Services LLC.                                                                                                                               $                    0.00
                                          Dynasty Bulldog , LLC                                                                                                                                  $                    0.00
                                                                                                                                                                                                 $
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here .......................................................................................................................................   ............ -+ I$                   0.001



                  Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest ln.
                  If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     li4   No. Go to Part 7.
     0     Yes. Go to line 47.
                                                                                                                                                                                                Current value of the
                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                or exemptions.
47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
     blNo
     DYes ......................... ;

                                                                                                                                                                                                           0._0_0
                                                                                                                                                                                                ' $_ _ _ _ _



 Official Form 106AIB                                                                  Schedule AlB: Property                                                                                                page 9
                                               Case 18-15580-RBR                                   Doc 15                  Filed 05/24/18                           Page 12 of 45
 Debtor 1              MARIA                             ROSA                         KOROLYZEN                                                   Case number {ff known)         18-15580-RB R
                        First Name             Middle Name                Last Name




48. Crops-either growing or harvested
     lilt   No

                                                                                                                                                                                                          : $_______________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     fill   No
     0      Yes ........................ ..i
                                                                                                                                                                                                           $_ _ _ _ _ __

50. Farm and fishing supplies, chemicals, and feed
     fill   No
     0      Yes .......................... :
                                                                                                                                                                                                          I _____
                                                                                                                                                                                                          I$
51. Any farm· and commercial fishing-related property you did not already list
     lilt   No
     0      Yes. Give specific
            information ............. •                                                                                                                                                                    $_ _ _ _ _ __


                                                                                                                                                                                                           $· - - - - - 0.00
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here .................................................................................................................................................... -+                          --



                    Describe All Property You Own or Have an Interest In That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

     fill   No                                                                                                                                                                                                                     0.00
     0      Yes. Give specific
                                                                                                                                                                                                             $-----
            information.                                                                                                                                                                                     $- - - - -0.00
                                                                                                                                                                                                                       --
                                                                                                                                                                                                                      0.00
                                                                                                                                                                                                             $- - - - -  -

54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. -+                                                     $                     0.00



                     List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 .............................................................................................................................................................. -+    $_ _5_7_0_,2_0_0_._0_0

56. Part 2: Total vehicles, line 5                                                                                $_ _1_,o_o_o_.o_o

57. Part 3: Total personal and household items, line 15                                                                   700.00
                                                                                                                  $._ _ _ _ __


58. Part 4: Total financial assets, line 36                                                                       $_ _ _ 285.00
                                                                                                                         _ __

59. Part 5: Total business-related property, line 45                                                                       0.00
                                                                                                                  $- - - - -  -
60. Part 6: Total farm- and fishing-related property, line 52                                                              0.00
                                                                                                                  $- - - - -  -
61.Part 7: Total other property not listed, line 54                                                            +$       0.00
                                                                                                                    -----  -
62. Total personal property. Add lines 56 through 61. ....................                                    , $                 1,985.00           Copy personal property total-+ +$                       ___1,985.00       __
                                                                                                                                                                                                                        ..:...._




63. Total of all property on Schedule AlB. Add line 55 + line 62 ........................................................................................ ..                                               $_ _572,185.00
                                                                                                                                                                                                                _ _ __



 Official Form 106AIB                                                                     Schedule AlB: Property                                                                                                      page 10
                                     Case 18-15580-RBR                  Doc 15          Filed 05/24/18            Page 13 of 45

 F1ll   1n   th1s 1nformat10n to 1dent1fy your case


 Debtor 1            MARIA                  ROSA                   KOROLYZEN
                      First Name                  Middle Name               Last Name

 Debtor 2
 (Spouse. if filing) First Name                   Middle Name               Last Name


 United States Bankruptcy Court for the: Southern District of Florida

 Case number           18-15580-RBR                                                                                                         0   Check if this is an
  (If known)
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AlB: Property {Official Form 106NB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited In dollar amount. However, If you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                    Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
        ~    You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522{b){3)
        D    You are claiming federal exemptions. 11 U.S.C. § 522{b){2)



 2. For any property you list on Schedule AlB that you claim as exempt, fill in the information below.


        Brief description of the property and line on           Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
        Schedule AlB that lists this property                   portion you own
                                                                Copy the value from     Check only one box for each exemption.
                                                                Schedule AlB

        Brief                                                                                                                    Art. X Section 4(a)(1) of the
        description:
                                   4/3 House                    $570,200.00             liZh _ _ __
                                                                                        0 100% of fair market value, up to       Fla. Constitution
        Line from
        Schedule AlB:              1.1                                                      any applicable statutory limit


        Brief
        description:               Lexus RX 330                 $11000.00               liZI $   1,000.00                        F.S 222.25 (1)

        Line from
                                                                                        D   100% of fair market value, up to
                                                                                            any applicable statutory limit
        Schedule AlB:

        Brief
        description:
                                   Old Appliances               $250.00                 liZI $ 250.00                            Art.X Section 4(a)(2)
                                                                                        0 100% of fair market value, up to       Fla. Constitution
        Line from
        Schedule AlB:                                                                       any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
        {Subject to adjustment on 4101119 and every 3 years after that for cases filed on or after the date of adjustment.)

        0     No
        Ga    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              D     No
              lia   Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                          page 1 of_
                               Case 18-15580-RBR                    Doc 15        Filed 05/24/18               Page 14 of 45

Debtor 1      MARIA                      ROSA                KOROLYZEN                           Case number (ffknown)   18-15580-RBR
             First Name        Midd~   Name     Last Name




            Additional Page

      Brief description of the property and line        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
      on Schedule AlB that lists this property          portion you own
                                                        Copy the value from      Check only one box for each exemption
                                                        Schedule AlB

     Brief                                                                                                                 Art.X Section 4 (a)(2) Fla.
     description:
                          Old Electronics                   $_ ___:2=5=0=.0~0    lit$        250.00
                                                                                                                           Constitution.
     Line from            7                                                      0   100% offair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit

     Brief                                                                                                                 Art. X Section 4(a)(2) Fla.
     description:         Everyday clothes                  $_ __,2=0=0=.0><-0   lia $       200.00
                                                                                                                           Constitution
     Line from                                                                   0   100% of fair market value, up to
     Schedule AlB:
                          11                                                         any applicable statutory limit


     Brief
                          CASH                                                   ~$                                        Art. X Section 4 (a)(2) Fla.
     description:                                           $- - - -25.00
                                                                     --                       25.00
                                                                                                                           Constitution
     Line from
                                                                                 D 100% of fair market value, up to
                          17                                                         any applicable statutory limit
     Schedule AlB:

     Brief
                          Chase Acct.2460                                        ~$                                        Art. 10 Section 4(a)(2) Fla.
     description:                                           $- - - -60.00
                                                                     --                       60.00
                                                                                                                           Constitution.
     Line from            17                                                     0   100% offair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit

     Brief
                          Chase Acct. 0703                         200.00        ~$          200.00                        Art. 10 Section 4(a)(2)Fia.
     description:                                           $- - - - --                                                    Constitution
     Line from
                                                                                 0   100% of fair market value, up to
     Schedule AlB:
                          17                                                         any applicable statutory limit


     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit


     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit

     Brief
     description:
                                                            $._ _ _ _ __         0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit


     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% offair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit


     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit

     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit


     Brief
     description:
                                                            $_ _ _ _ __          0$ _ _ __
     Line from
                                                                                 0 100% of fair market value, up to
     Schedule AlB:                                                                   any applicable statutory limit



Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                          pagel._of_
                                               Case 18-15580-RBR                            Doc 15         Filed 05/24/18                 Page 15 of 45


    Fill    In    th1s 1nformat1on to ;dentlfy your case


     Debtor 1                 MARIA                     ROSA                   KOROLYZEN
                              First Name                     Mktdle Name                    Last Name

     Debtor 2
     (Spouse.      ~filing)   First Name                     Middle Name                    last Name


     United States Bankruptcy Court for the: Southern District of Florida

     Case number               18-15580-RBR
     (If known)                                                                                                                                                      D   Check if this is an
                                                                                                                                                                         amended filing


    Official Form 1060
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                          12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any
    additional pages, write your name and case number (If known).


    1. Do any creditors have claims secured by your property?
        0         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        ~         Yes. Fill in all of the information below.


~§II                   List All Secured Claims
                                                                                                             ColumnA                                     ColumnS                     ColumnC
    2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of dalm                                   Value of c:ollatM'al    Unsecured
I      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do notdeduct1he                                 that supports this      portion
       As much as possible, list the claims in alphabetical order according to the creditor's name.          value of oollateral.                            claim                   If any
I
W          CIT BANK N.A
           Creditor's Name
            P.O BOX 9013
                                                                     ~-
                                                                       Describe the property that secures the claim:
                                                                           ~-----·-     ~·---




                                                                      19548 S.Whitewater Ave.
                                                                                                                  ·-·------        "] $     538,718.85 $         570,200.00 $_ _0_.0_0


           Number               Street                                Weston FL. 33332                    ·-~---     ----   -~---




                                                                      As of the date you file, the claim is: Check all that apply.
                                                                       a     Contingent
           Addison                              TX      75001          Iii   Unliquidated
           City                                 State   ZIP Code       a     Disputed
      Who owes the debt? Check one.                                    Nature of lien. Check all that apply.
      Iii    Debtor 1 only                                             Iii   An agreement you made (such as mortgage or secured
      a      Debtor 2 only                                                   car loan)
      a      Debtor 1 and Debtor 2 only                                a     Statutory lien (such as tax lien, mechanic's lien)
      a      At least one of the debtors and another                   a     Judgment lien from a lawsuit

      a  Check if this claim relates to a
                                                                       a     Other (including a right to o f f s e t ) - - - - - - - -

         community debt
      Datedebtwaslncurred 07/30/201(                               ......._Las!~~igi~~~~~unt~umber 4                0. 7       1
[j]                                                                  - Describe the property that secures the cla:im=:-==-            $._ _ _ _ __           $                      $_ _ _ ___
           Creditor's Name


           "'"'N-um....,be-r--S=ct-re""'et,----------~-
                                                                     ~-
                                                                             -_- -~ ~~-~--- ~--~~==~-=]
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       a     Contingent
                                                                       a     Unliquidated
           City                                 State   ZIP Code       a     Disputed
      Who owes the debt? Check one.                                    Nature of lien. Check all that apply.
      a      Debtor 1 only                                             a     An agreement you made (such as mortgage or secured
      a      Debtor 2 only                                                   car loan)
      a      Debtor 1 and Debtor 2 only                                a     Statutory lien (such as tax lien, mechanic's lien)
      a      At least one of the debtors and another                   a     Judgment lien from a lawsuit

      a  Check if this claim relates to a
                                                                       a     Other (including a right to o f f s e t ) - - - - - - - -

         community debt

e--
.
      Date debt was incurred
                                           -
                                                                       Last 4 digits of account
           Add the dollar value of your entries in Column A on this page. Write that number here:
                                                                                                        number~   __ _
                                                              ........ ----~----··'"-----·-···"'--··~,;:-···--· .......
                                                                                                                                      f
                                                                                                                                               ··-·--·-··1
                                                                                                                                            538,718 85

     Official Form 1060                                        Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 ofL
                                       Case 18-15580-RBR                             Doc 15          Filed 05/24/18                    Page 16 of 45

  Debtor 1            MARIA                      ROSA                   KOROLYZEN                                       Case number (if known)   18-15580-RBR
                       First Name        Middte Name             last Name



                 Additional Page                                                                                                    ColumnA                   ColumnS                    ColumnC
                                                                                                                                    Amount of c!Mn            ValueofcoUateral           Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed
                                                                                                                                    Do not deduct the         thataupporc.W.             portion
                 by 2.4, and so forth.                                                                                                                        claim
                                                                                                                                    value of collateral.                                 If any

                                                                 Describe the property that secures the claim:                     $                           $                       $

     =Num.,...,.,.ber---:::S:--:treet_ _ _ _ [ _...                                ~·------~- -----~ I   .

                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 D    Contingent
     City                                State    ZIP Code       D    Unliquidated
                                                                 D    Disputed
    Who owes the debt? Check one.                                Nature of lien. Check all that apply.
    D   Debtor 1 only                                            D    An agreement you made (such as mortgage or secured
    D   Debtor 2 only                                                 car loan)
    D   Debtor 1 and Debtor 2 only                               D    Statutory lien (such as tax lien, mechanic's lien)
    D   At least one of the debtors and another                  D    Judgment lien from a lawsuit
                                                                 D    Other (including a right to offset) _ _ _ _ _ _ __
    D   Check If this claim relates to a
        community debt

    Date debt was incurred _ _ _ __                              Last 4 digits of account number _ _ _ _

p-----------··---------D-e-sc-n-.b-e-the property that secures the cla-im-:                                             ----$=_-·_·-_-_-_-_·_-_-_-_--_~---~$-~_-·_--_-_--_-_·---~=----~--------·-_-_--_-_-·
                         _ _ _ _ _ _ _ _ _ ____
     ~C~re~d·~~~r-s~Na_m_e




     "'Nu-m-:be-r---=s.,..tre-e7t _ _ _ _ _ _ _ _ _ [                __________ _
                                                                                           ---~~---~-- -~~~--l
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 D    Contingent
                                                                 D    Unliquidated
     City                                State    ZIP Code
                                                                 D    Disputed
    Who owes the debt? Check one.
                                                                 Nature of lien. Check all that apply.
    D   Debtor 1 only
                                                                 D    An agreement you made (such as mortgage or secured
    D   Debtor 2 only                                                 car loan)
    D   Debtor 1 and Debtor 2 only                               D    Statutory lien (such as tax lien, mechanic's lien)
    D   At least one of the debtors and another                  D    Judgment lien from a lawsuit

    D   Check If this claim relates to a
                                                                 D    Other (including a right to o f f s e t ) - - - - - - - -
        community debt

    Date debt was incurred _ _ _ ____
                                -~·----·--   . -.. - ·-· - - - - . . . . . . . . . --·--·---------· .--. ---·-------·-····
                                                                 Last 4 digits of account number _ _ _ _
                                                                                                     -~

0    =.,..,.,.,.,;-;-::-:.,.,.------------                       Describe the property that secures the claim:                     $'--------
                                                                                                                                                               $.______________ $__________
     Credrtors Name
                                                                                                                          --l
      Number                 Street
                                                             I
                                                             L _______       ~                               -~----   _______ _!
                                                                                                                                   I
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 D    Contingent
     City                                State    ZIP Code       D    Unliquidated
                                                                 D    Disputed
    Who owes the debt? Check one.                                Nature of lien. Check all that apply.
    D   Debtor 1 only                                            D    An agreement you made (such as mortgage or secured
    D   Debtor 2 only                                                 car loan)
    D   Debtor 1 and Debtor 2 only                               D    Statutory lien (such as tax lien, mechanic's lien)
    D   At least one of the debtors and another                  D    Judgment lien from a lawsuit
                                                                 D    Other (including a right to offset) _ _ _ _ _ _ __
    D   Check if this claim relates to a
        community debt
    Date debt was incurred                                       Last 4 digits of account number _ _ _ _

             Add. the dollar value of your entries in Column A on this page. Write that number here:
             If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                                   t::::::j
             Write that number here:                                                                                               $

  Official Form 1060                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                  pageLotl_
                                  Case 18-15580-RBR                 Doc 15       Filed 05/24/18             Page 17 of 45

Debtor1           MARIA                  ROSA               KOROLYZEN                          Case number (ffknown)   18-15580-RBR
                   First Name     Middle Name        Last Name


                   List Others to Be Notified for a Debt That You Already Listed

 Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, If a collection
 agency Is trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts In Part 1, do not fill out or submit this page.


tJ    Name
                                                                                          On which line In Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number _ _ _ _


      Number            Street




      City                                              State        ZIP Code


D     Name
                                                                                          On which line in Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number _ _ _ _


      Number            Street




      City                                              State        ZIP Code


D         __
      ~N~ame __________________________________________________
                                                                                          On which line in Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number _ _ _ _


      Number            Street




      City                                              State        ZIP Code


D     ~N~am~e--------------------------------------------------
                                                                                          On which line in Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number~      _Q_ _2_ _1_

      Number             Street




      City                                              State        ZIP Code


D     ~N~a-m_e   __________________________________________________
                                                                                          On which line in Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number _ _ _ _


      Number             Street




      City                                              State        ZIP Code


D     Name
                                                                                          On which line in Part 1 did you enter the creditor? _ _

                                                                                          Last 4 digits of account number _ _ _ _


      Number             Street




      City                                              State        ZIP Code



Official Form 1060                              Part 2 of Schedule 0: Creditors Who Have Claims Secured by Property                         page;L_ot.L_
                                    Case 18-15580-RBR                                  Doc 15             Filed 05/24/18                Page 18 of 45
  F1ll1n th1s mformat1on to 1dent1fy your case.


  Debtor1           MARIA                        ROSA                          KOROLYZEN
                      First Name                        Mkldle Name                       Last Name

  Debtor 2
  (Spouse, ff filing) Fin;t Name                        Mkldle Name                       Last Name


  United States Bankruptcy Court for the: Southern District of Florida

  Case number         18-15580-RBR                                                                                                                                 1:1 Check if this is an
   (If known)                                                                                                                                                          amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                 12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AlB: Property (Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not Include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill It out, number the entries In the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (If known).

                List All of Your PRIORITY Unsecured Claims

, 1. Do any creditors have priority unsecured claims against you?
     1:1 No. Go to Part 2.
     ~Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and non priority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                                  Total claim    Priority        Nonprlorlty
                                                                                                                                                                 amount         amount

        IRS                                                                    Last 4 digits of account number ~             _§._ _Q_   ~     $      2,11700$1,80577$                311 23
       Priority Credttor's Name

        P.O BOX 7346                                                           When was the debt Incurred?              09/30/2016
       Number            Street

                                                                               As of the date you file, the claim is: Check all that apply
        PHILADELPHIA                           PA        19101                 0      Contingent
       City                                  State       ZIP Code
                                                                               0      Unliquidated
       Who incurred the debt? Check one.                                       0      Disputed
       ~ Debtor 1 only
       0 Debtor 2 only                                                         Type of PRIORITY unsecured claim:
       0 Debtor 1 and Debtor 2 only                                            0      Domestic support obligations
       0 At least one of the debtors and another                               !ill   Taxes and certain other debts you owe the government
       0      Check if this claim Is for a community debt                      0      Claims for death or personal injury while you were
       Is the claim subject to offset?                                                intoxicated
       6Zl No                                                                  0      Other. Specify _ _ _ _ _ _ _ _ _ _ __
       0 Yes
Ef---~-'                 -·· · · - ·----·-· . . . . . -·-· · · . . -----· ..   -·""··-·---·~·   ·- ----·- ___,___,. . . . . . . ----.. -_.,____ · - . . . -···········---------·-·-.. . ·-----
                                                                                                                       ~.


       Priority Creditor's Name                                                Last 4 digits of account number _             _    _     _     $._____ $____ $._____
                                                                               When was the debt Incurred?
       Number            Street
                                                                               As of the date you file, the claim is: Check all that apply
                                                                               0      Contingent
       City                                  State       ZIP Code              0      Unliquidated
       Who Incurred the debt? Check one.                                       0      Disputed
       0 Debtor 1 only                                                         Type of PRIORITY unsecured claim:
       0 Debtor 2 only
                                                                               0      Domestic support obligations
       0 Debtor 1 and Debtor 2 only
       0 At least one of the debtors and another                               0      Taxes and certain other debts you owe the government
                                                                               0      Claims for death or personal injury while you were
       0      Check if this claim is for a community debt                             intoxicated
       Is the claim subject to offset?                                         0      Other. S p e c i f y - - - - - - - - - - - -
       0 No
       0 Yes

 Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of..§._
                                 Case 18-15580-RBR                          Doc 15          Filed 05/24/18                Page 19 of 45
 Debtor 1        MARIA                      ROSA                    KOROLYZEN                               Case number (if known)   18-15580-RBR
                  First Name      Middle Name           last Name


                 Your PRIORITY Unsecured Claims- Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                              Total claim     Prtority     Nonprlorlty
                                                                                                                                                     amount       amount


                                                                     Last 4 digits of account number _ _ _ _                         $              $_ __         $._ _ __
      Priority Creditor's Name

                                                                     When was the debt incurred?
      Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     [J Contingent
      City                                 State   ZIP Code          [J Unliquidated
                                                                     [J Disputed
      Who incurred the debt? Check one.
      [J     Debtor 1 only                                           Type of PRIORITY unsecured claim:
      [J     Debtor 2 only
                                                                     [J Domestic support obligations
      [J     Debtor 1 and Debtor 2 only
                                                                     [J Taxes and certain other debts you owe the government
      [J     At least one of the debtors and another
                                                                     [J Claims for death or personal injury while you were
                                                                         intoxicated
      [J Check if this claim is for a community debt
                                                                     [J Other. Specify _ _ _ _ _ _ _ _ _ _ __
      Is the claim subject to offset?
      [J No
      [J Yes
~--u-r----,.---------~--~-~------                      ----------------·-------.. ------------------ ---··      -------------~-          --- ....----------- -·-----------------
                                                                     Last 4 digits of account number _         _    _    _           $_ _ _ _ _ $ _ _ _ _ $._ _ _ __
      Priority Creditor's Name

                                                                     When was the debt incurred?
      Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     [J Contingent
      City                                 State   ZIP Code          [J Unliquidated
                                                                     [J Disputed
      Who incurred the debt? Check one.
      [J     Debtor 1 only                                           Type of PRIORITY unsecured claim:
      [J     Debtor 2 only
                                                                     [J Domestic support obligations
      [J     Debtor 1 and Debtor 2 only
                                                                     [J Taxes and certain other debts you owe the government
      [J     At least one of the debtors and another
                                                                     [J Claims for death or personal injury while you were
                                                                         intoxicated
      [J Check if this claim is for a community debt
                                                                     [J Other. S p e c i f y - - - - - - - - - - - -
      Is the claim subject to offset?
      [J No
      [J Yes
r--o~---·--------------           ····-.
                                                                     Last 4 digits of account number _ _ _ _
                                                                                                                                     $_ _ _ _ $_ _ __             $._ _ __
      Priority Creditor's Name

                                                                     When was the debt incurred?
      Number           Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     [J Contingent
      City                                 State   ZIP Code          [J Unliquidated
                                                                     [J Disputed
      Who incurred the debt? Check one.
      [J     Debtor 1 only                                           Type of PRIORITY unsecured claim:
      [J     Debtor 2 only
                                                                     [J Domestic support obligations
      [J     Debtor 1 and Debtor 2 only
                                                                     [J Taxes and certain other debts you owe the government
      [J     At least one of the debtors and another
                                                                     [J Claims for death or personal injury while you were
                                                                         intoxicated
      [J Check if this claim is for a community debt
                                                                     [J Other. S p e c i f y - - - - - - - - - - - - -
      Is the claim subject to offset?
      [J No
      [J Yes


Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       pagl2_ of.§____
                                   Case 18-15580-RBR                          Doc 15         Filed 05/24/18                 Page 20 of 45
Debtor 1            MARIA                   ROSA                       KOROLYZEN                              Case number (ffknawn)   18-15580-RBR
                    First Name       Midd~Name             Last Name



                   List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    0     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    G;a   Yes

 4. List all of your nonprlorlty unsecured claims In the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                     Total claim

8     AMERICAN EXPRESS BANK
      Nonpnonty Creditor's Name
                                                                                       Last 4 digits of account number _]_            _Q_ _Q_ _Q_
                                                                                                                                                                    $' - - - -4,233.11
                                                                                                                                                                              --'----
                                                                                       When was the debt Incurred?               11/01/2016
      P.O BOX 3001
      Number              Street

        MALVERN                                         PA              19355
      City                                              State          ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                       1:J   Contingent
      Who incurred the debt? Check one.                                                llf   Unliquidated
      121     Debtor 1 only                                                            l:l   Disputed
      I:J     Debtor 2 only
      l:l     Debtor 1 and Debtor 2 only                                               Type of NON PRIORITY unsecured claim:
      l:l     At least one of the debtors and another                                  1:J   Student loans
      l:l     Check if this claim is for a community debt                              1:J   Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
      Is the claim subject to offset?                                                  1:J   Debts to pension or profit-sharing plans, and other similar debts
      121     No                                                                       llf   Other. Specify ....:c::..:.r.::e.::d:..:.it-=c:.=a:.:.crd=----------
      l:l     Yes



      Nonpriority Creditor's Name

      P.O BOX 788
      Number              Street
        KIRKLAND                                        WA              98083          As of the date you file, the claim is: Check all that apply.
      City                                              State          ZIP Code
                                                                                       1:J Contingent
      Who incurred the debt? Check one.                                                ~ Unliquidated
      121 Debtor 1 only                                                                I:J Disputed
      1:J Debtor 2 only
                                                                                       Type of NONPRIORITY unsecured claim:
      1:J Debtor 1 and Debtor 2 only
      l:l At least one of the debtors and another                                      I:J   Student loans
                                                                                       1:J   Obligations arising out of a separation agreement or divorce
        l:l   Check if this claim is for a community debt                                    that you did not report as priority claims
      Is the claim subject to offset?                                                  1:J   Debts to pension or profit-sharing plans, and other similar debts
      121     No
                                                                                       Iii   other. Specify MEDICAL BILL

      l:l
      Yes
rr---"'~----·                - - ·- ·- ·
      Nonpnority Creditor's Name
                                                                                       Last 4 digits of account number _ _ _ _
                                                                                                                                                                    $._ _ _ _ __
                                                                                       When was the debt incurred?

      Number              Street

                                                                                       As of the date you file, the claim Is: Check all that apply.
      City                                              State          ZIP Code
                                                                                       1:J   Contingent
      Who incurred the debt? Check one.
                                                                                       1:J   Unliquidated
        1:J   Debtor 1 only
                                                                                       1:J   Disputed
        1:J   Debtor 2 only
        1:J   Debtor 1 and Debtor 2 only                                               Type of NON PRIORITY unsecured claim:
        1:J   At least one of the debtors and another
                                                                                       1:J   Student loans
        l:l   Check if this claim is for a community debt                              1:J   Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
        Is the claim subject to offset?
                                                                                       1:J   Debts to pension or profit-sharing plans, and other similar debts
        l:l   No
        l:l   Yes
                                                                                       l:l   Other. S p e c i f y - - - - - - - - - - - - - - -




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                         page:L of§_
                                    Case 18-15580-RBR                            Doc 15    Filed 05/24/18                 Page 21 of 45
 Debtor1           MARIA                    ROSA                      KOROLYZEN                              Case number (ffknown)   18-15580-RBR
                   First Name       Middle Name           last Name



                  Your NONPRIORITY Unsecured Claims- Continuation Page


[ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                          Total claim




0     Nonpriority Creditor's Name
                                                                                          Last 4 digits of account number _ _ _ _                                 $._ _ __

                                                                                          When was the debt incurred?

      Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      City                                             State          ZIP Code            0   Contingent
                                                                                          0   Unliquidated
      Who Incurred the debt? Check one.                                                   0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                Type of NON PRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only                                                   0   Student loans
      0      At least one of the debtors and another                                      0   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                          0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     0   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      0      No
      0
                                                   - - - - - - - - - -·- ._____ ·----------·-·----·---··--..----·--·-..·--·---------------
             Yes

o---·------~-- ··~----------"'


                                                                                          Last 4 digits of account number _           _   _     _                 $ _ _ _ __
      Nonpriority Creditor's Name
                                                                                          When was the debt incurred?

      Number             Street
                                                                                          As of the date you file, the claim Is: Check all that apply.
      City                                             State          ZIP Code            0   Contingent
                                                                                          0   Unliquidated
      Who incurred the debt? Check one.                                                   0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                Type of NON PRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only                                                   0   Student loans
      0      At least one of the debtors and another                                      0   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                          0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     0   Other. Specify_ _ _ _ _ _ _ _ _ _ __
      0      No
      0      Yes


                                                                                                                                                                  $_ _ __
                                                                                          Last 4 digits of account number _ _ _ _
      Nonpriority Creditor's Name
                                                                                          When was the debt incurred?

      Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
      City                                             State          ZIP Code            0   Contingent
                                                                                          0   Unliquidated
      Who incurred the debt? Check one.                                                   0   Disputed
      0      Debtor 1 only
      0      Debtor 2 only                                                                Type of NON PRIORITY unsecured claim:
      0      Debtor 1 and Debtor 2 only                                                   0   Student loans
      0      At least one of the debtors and another                                      0   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                          0   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     0   Other. Specify_ _ _ _ _ _ _ _ _ _ _ __
      0      No
      0      Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page!_ of.§__
                               Case 18-15580-RBR                            Doc 15       Filed 05/24/18            Page 22 of 45
 Debtor 1      MARIA                   ROSA                      KOROLYZEN                            Case number (it known)   18-15580-RB R
                First Name     Middle Name           Last Name


               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only If you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                               On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                               Line        of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                             [J Part 2: Creditors with Nonpriority Unsecured Claims

                                                                               Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code


                                                                                On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                              [J Part 2: Creditors with Non priority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                              [J Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code

                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                              [J Part 2: Creditors with Non priority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code


                                                                                On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                   [J Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number _ _ _ _
     -~---·--·-----·-··'"·· --~···-·~-__Jl~ate       _   ----~':'~~- •..••• ___.. ····-·--·---···~··------·-··-··-,.-------~- --·
                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                   [J Part 2: Creditors with Non priority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number _ _ _ _
                                             State               ZIP Code


                                                                                On which entry In Part 1 or Part 2 did you list the original creditor?
      Name


                                                                                Line       of (Check one): [J Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                              [J Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

      City                                   State               ZIP Code
                                                                                Last 4 digits of account number _ _ _ _


Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                               page~ofL
                             Case 18-15580-RBR                     Doc 15       Filed 05/24/18         Page 23 of 45
Debtor1     MARIA                     ROSA                    KOROLYZEN                     Case number (if known) 18-15580-RBR
               First Name     Middle Name         Last Name




          Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                Ga. Domestic support obligations                                Ga.                        0.00
Total claims                                                                           $
from Part 1
                Gb. Taxes and certain other debts you owe the
                    government                                                  Gb.    $              2,117.00

                Gc. Claims for death or personal injury while you were
                    intoxicated                                                 Gc.                        0.00
                                                                                       $

                Gd. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     Gd.                        0.00
                                                                                      +s

                Ge. Total. Add lines Ga through Gd.                             Ge.
                                                                                       $              2,117.00


                                                                                       Total claim


             Gf. Student loans                                                  Gf.                        0.00
Total claims                                                                            $
from Part2 Gg. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                         Gg.     $                  0.00
                 Gh. Debts to pension or profit-sharing plans, and other
                     similar debts                                              Gh.    $                   0.00

                 Gi. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                    Gi.   +s              6,199.26


                 Gj. Total. Add lines Gf through Gi.                            Gj.
                                                                                        $             6,199.26




Official Form 1OGE/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               page~ of§_
                                    Case 18-15580-RBR                Doc 15          Filed 05/24/18         Page 24 of 45

  Fill 1n th1s mformat1on to ident1fy your case


  Debtor               MARIA            ROSA                    KOROLYZEN
                       First Name            Middle Name                 Last Name

  Debtor2
  (Spouse If filing)   First Name            Middle Name                 Last Name


  United States Bankruptcy Court for the: Southern District of Florida

  Case number           18-15580-RBR
  (If known)                                                                                                                           0   Check if this is an
                                                                                                                                           amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space Is needed, copy the additional page, fill it out, number the entries, and attach It to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
       ~ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       D Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AlB: Property (Official Form 106AIB).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



       Person or company with whom you have the contract or lease                            State what the contract or lease is for


.2.1
       Name


       Number             Street


       City                              State      ZIP Code

2.2
       Name


       Number             Street


       City                              State      ZIP Code

2.3
       Name


       Number             Street


       City                              State      ZIP Code

2.4
       Name


       Number             Street


       City                              State      ZIP Code

2.5
       Name


       Number             Street


       City                              State      ZIP Code


Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                       page 1 ofl___
                                Case 18-15580-RBR                        Doc 15      Filed 05/24/18            Page 25 of 45

  Debtor 1        MARIA                ROSA                           KOROLYZEN                  Case number (if known)   18-15580-RB R
                  First Name    Middle Name               Last Name




 -                Additional Page If You Have More Contracts or Leases

         Person or company with whom you have the contract or lease                           What the contract or lease is for



         Name


         Number        Street


         City                                 State      ZIP Code

 !2._:

         Name


         Number        Street


         City                                 State      ZIP Code


 i2._,

         Name


         Number        Street


         City                                 State      ZIP Code


 i2.-
         Name


         Number        Street


         City                                 State      ZIP Code


 i2.-

         Name


         Number        Street


         City                                 State      ZIP Code


 !2._
         Name


         Number        Street


         City                                 State      ZIP Code


  2._
         Name


         Number        Street


         City                                 State      ZIP Code


  2.-
         Name


         Number        Street


         City                                 State      ZIP Code



Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                                page f._ of£_
                                         Case 18-15580-RBR                         Doc 15        Filed 05/24/18     Page 26 of 45

 F1ll   1n    th1s mformat1on to 1dent1fy your case


 Debtor 1             MARIA                      ROSA                           KOROLYZEN
                         First Name                    Middle Name                  Last Name

 Debtor 2
 (Spouse, ff filing) First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:          Southern District of Florida

 Case number             18-15580-RBR
  (If known)
                                                                                                                                                0   Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                    12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        t;;ll No
        0     Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        0      No. Go to line 3.
        D     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
               0    No
               0    Yes. In which community state or territory did you live? _ _ _ _ _ _ _ _ . Fill in the name and current address of that person.



                    Name of your spouse, former spouse, or legal equivalent



                    Number              Street



                    City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     ScheduleD (Official Form 106D), Schedule ElF (Official Form 106EIF), or Schedule G (Official Form 106G). Use ScheduleD,
     Schedule ElF, or Schedule G to fill out Column 2.

         Column 1: Your codebtor                                                                              Column 2: The creditor to whom you owe the debt

                                                                                                              Check all schedules that apply:

~            Name
                                                                                                              D   Schedule D, line ___
                                                                                                              D   Schedule ElF, line ___
             Number            Street                                                                         D   Schedule G, line

             City                                                       State                    ZIP Code


§]                                                                                                            D   Schedule D, line
             Name
                                                                                                              D   Schedule ElF, line ___
             Number            Street                                                                         D   Schedule G, line ___

             City                                                       State                    ZIP Code


EJ           Name
                                                                                                              D   Schedule D, line ___
                                                                                                              D   Schedule ElF, line ___
             Number            Street                                                                         D   Schedule G, line ___

             City                                                       State                    ZIP Code



Official Form 106H                                                               Schedule H: Your Codebtors                                          page 1 otl.___
                                   Case 18-15580-RBR                Doc 15      Filed 05/24/18            Page 27 of 45

     Debtor1        MARIA                 ROSA                KOROLYZEN                      Case number Iff known)   18-15580-RBR
                    First Name     Middle Name   Last Name




                    Additional Page to List More Codebtors

         Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt

                                                                                                    Check all schedules that apply:


          Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___


 .        City                                        State                     ZIP Code


 EJ       Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___



 EJ Co~                                               State


                 ____________________________________________________________
                                                                                ZIP Code


          ~Na_m_e
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line


          Ci~                                         State                     ZIP Code



 EJ
 ,        Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___


 r        Ci~                                         State                     ZIP Code


 EJ       Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___


          Ci~                                         State                     ZIP Code


 EJ       Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___




 ~ _C_i~-------------------------------Sta_t_e
                                                                                ZIP Code

                                                              ____________________________
          Name
                                                                                                    0    Schedule D, line ___
                                                                                                    0    Schedule ElF, line ___

          Number          Street                                                                    0    Schedule G, line ___


          Ci~                                         State                     ZIP Code
 D
          Name
                                                                                                    0    ScheduleD, line _ __
                                                                                                    0    Schedule ElF, line _ __

          Number          Street                                                                    0    Schedule G, line _ __


                                                      State




Official Form 106H                                              Schedule H: Your Codebtors                                            page2__of.2__
                                Case 18-15580-RBR                   Doc 15              Filed 05/24/18                 Page 28 of 45


 Fdl <n th<s mformat1on lo idenl<fy your case


 Debtor 1          MARIA               ROSA               KOROLYZEN
                   First Name               Middle Name                 Last Name

 Debtor2
 (Spouse, Wfiling) First Name               Mtddle Name                 Last Name


 United States Bankruptcy Court for the: Southern District of Florida

 Case number         18-15580-RBR                                                                              Check if this is:
  (If known)
                                                                                                               0     An amended filing
                                                                                                               0     A supplement showing postpetition chapter 13
                                                                                                                     income as of the following date:
Official Form 1061                                                                                                   MM I DDI YYYY

Schedule 1: Your Income                                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                  Describe Employment


1. Fill in your employment
   Information.                                                                Debtor 1                                          Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 el Employed                                           0     Employed
    employers.                                                             0      Not employed                                   0     Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                      SELF EMPLOYED
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name


                                         Employer's address               19548 S.WHITEWATER AVE.
                                                                           Number Street                                      Number      Street




                                                                          WESTON                         FL     33332
                                                                           City                  State    ZIP Code            City                    State ZIP Code

                                         How long employed there?              13 YEARS                                          13 YEARS


                  Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                              non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.                  2.                  0.00
                                                                                                          $                        $

 3. Estimate and list monthly overtime pay.                                                      3.   +$             0.00    + $


 4. Calculate gross income. Add line 2 + line 3.                                                 4.       $          0.00
                                                                                                                            II     $



Official Form 1061                                                 Schedule 1: Your Income                                                                  page 1
                                    Case 18-15580-RBR                                    Doc 15                Filed 05/24/18                      Page 29 of 45

Debtor 1        MARIA                          ROSA                     KOROLYZEN                                                     Case number (ffknown)   18-15580-RBR
                 First Name           Middle Name                Last Name



                                                                                                                                  For Debtor 1                For Debtor 2 or
                                                                                                                                                              non-filing spouse

   Copy line 4 here ...............................................................................................   -+ 4.            0.00
                                                                                                                                  $- - - -                      $_ _ _ __

 5. List all payroll deductions:

    Sa. Tax, Medicare, and Social Security deductions                                                                   Sa.       $            0.00             $
     Sb. Mandatory contributions for retirement plans                                                                   Sb.       $            0.00             $
    Sc. Voluntary contributions for retirement plans                                                                    Sc.       $            0.00             $
    Sd. Required repayments of retirement fund loans                                                                    Sd.       $            0.00             $
    Se. Insurance                                                                                                       Se.       $            0.00             $
    Sf. Domestic support obligations                                                                                    Sf.       $            0.00             $
    Sg. Union dues                                                                                                      Sg.       $            0.00             $
    Sh. Other deductions. Specify:                                                                                      Sh. +$                 0.00           + $
 6. Add the payroll deductions. Add lines Sa + Sb + Sc + Sd + 5e +5f + 5g + 5h.                                          6.       $            0.00             $

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                  7.       $            0.00             $

 8. List all other income regularly received:
    Sa. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.
                                                                                                                                  $      2,000.00               $._ _ _ __
                                                                                                                        Sa.
     Sb. Interest and dividends                                                                                         Sb.       $            0.00             $, _ _ __
    Be. Family support payments that you, a non-filing spouse, or a dependent
        regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
           settlement, and property settlement.                                                                                   $            0.00             $
                                                                                                                        Be.
    8d. Unemployment compensation                                                                                       Sd.       $            0.00             $
     Be. Social Security                                                                                                Be.       $            Q.QQ             $
     Sf. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  Sf.                                            $            0.00             $

     Sg. Pension or retirement Income                                                                                   Sg.       $            0.00             $
     Sh. Other monthly income. Specify: Famii~Aid                                                                       Sh. +$              875.00            +$
 9. Add all other income. Add lines Sa + Sb + Be + Sd + Be + Sf +Sg + Sh.                                                9.   I   $      2.875.001              $
                                                                                                                                                                                    I
10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                  $      2.875.00 1+ 1 $                  0.00                2,875.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                           10.1                                                       I= 1$

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                                                                  11.   +   $     1,000.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                        12.             3,875.00
                                                                                                                                                                                        Combined
                                                                                                                                                                                        monthly Income
 13. Do you expect an increase or decrease within the year after you file this form?
     6ZI No.
     0     Yes. Explain:


Official Form 1061                                                                     Schedule 1: Your Income                                                                              page2
                                      Case 18-15580-RBR                   Doc 15          Filed 05/24/18             Page 30 of 45


   Fill 111 th;s 111format1on to identify your case

   Debtor 1              MARIA               ROSA                      KOROLYZEN
                         First Name               Middle Name               Last Name                        Check if this is:
   Debtor2
   (Spouse,   ~filing)   First Name               Middle Name               Last Name
                                                                                                             D   An amended filing
                                                                                                             D   A supplement showing postpetition chapter 13
   United States Bankruptcy Court tor the: Southern District of Florida
                                                                                                                 expenses as of the following date:
   Case number            18-15580-RBR                                                                           MM I DDt YYYY
   (If known)




 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                     12/15
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

                         Describe Your Household

1. Is this a joint case?

    6ll   No. Go to line 2.
    D     Yes. Does Debtor 21ive in a separate household?

                  till   No
                  0      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      0     No                                        Dependent's relationship to         Dependent's     Does dependent live
    Do not list Debtor 1 and                    [5I   Yes. Fill out this information for Debtor 1 or Debtor 2                       age             with you?
    Debtor 2.                                         each dependent.. ........................ - - - - - - - - - - - -
                                                                                         SON                                        24
                                                                                                                                                    D    No
    Do not state the dependents'
    names.                                                                                                                                          Ga   Yes
                                                                                                                                                    D    No
                                                                                                                                                    0    Yes
                                                                                                                                                    D No
                                                                                                                                                    DYes
                                                                                                                                                    0    No
                                                                                                                                                    0    Yes
                                                                                                                                                    0    No
                                                                                                                                                    0    Yes

 3. Do your expenses Include
    expenses of people other than
                                                GaNo
    yourself and your dependents?               DYes


                  Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement In a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule 1: Your Income (Official Form 1061.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                         $                 0.00
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
      4a.       Real estate taxes                                                                                             4a.        $                 0.00

      4b.     Property, homeowner's, or renter's insurance                                                                    4b.        $                 0.00
      4c.       Home maintenance, repair, and upkeep expenses                                                                 4c.        $                 0.00
      4d.       Homeowner's association or condominium dues                                                                   4d.        $               274.90

Official Form 106J                                                  Schedule J: Your Expenses                                                              page 1
                               Case 18-15580-RBR                    Doc 15       Filed 05/24/18          Page 31 of 45


 Debtor1          MARIA                 ROSA                    KOROLYZEN                  Case number (if known)   18-15580-RBR
                  First Name    Middle Name        last Name




                                                                                                                               Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                            $                     0.00
                                                                                                                    5.

  6. Utilities:
      6a.   Electricity, heat, natural gas                                                                          6a.    $                   200.00
      6b.   Water, sewer, garbage collection                                                                        6b.    $                   173.04
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                          6c.    $                   175.00
      6d.   Other. Specify:                                                                                         6d.    $                     0.00
 7. Food and housekeeping supplies                                                                                  7.     $                   400.00
 8. Childcare and children's education costs                                                                        8.     $                     0.00
 9. Clothing, laundry, and dry cleaning                                                                             9.     $                   100.00
10. Personal care products and services                                                                             10.    $                    50.00
11. Medical and dental expenses                                                                                     11.    $                   100.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                           $                   270.00
      Do not include car payments.                                                                                  12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.    $                    50.00
14.   Charitable contributions and religious donations                                                              14.    $                    25.00
15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                           15a.   $                     0.00
      15b. Health insurance                                                                                         15b.   $                    10.00
      15c. Vehicle insurance                                                                                        15c.   $                   230.00
      15d. Other insurance. Specify:                                                                                15d.   $                     0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                      16.    $                     0.00

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                               17a.   $                   432.00
      17b. Car payments for Vehicle 2                                                                               17b.   $                     0.00
      17c. Other. Specify:                                                                                          17c.   $                     0.00
      17d. Other. Specify:                                                                                          17d.   $                     0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 1061).                                              18.                         0.00
                                                                                                                           $

19. Other payments you make to support others who do not live with you.

      Specify:                                                                                                       19.   $                     0.00
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule 1: Your Income.

      20a. Mortgages on other property                                                                              20a.   $                     0.00
      20b. Real estate taxes                                                                                        20b.   $                     0.00
      20c. Property, homeowner's, or renter's insurance                                                             20c.   $                     0.00
      20d. Maintenance, repair, and upkeep expenses                                                                 20d.   $                     0.00
      20e. Homeowner's association or condominium dues                                                              20e.   $                     0.00


Official Form 106J                                             Schedule J: Your Expenses                                                         page2
                            Case 18-15580-RBR                   Doc 15        Filed 05/24/18              Page 32 of 45


Debtor 1       MARIA                 ROSA                   KOROLYZEN                        Case number (it known)   18-15580-RBR
               First Name    Middle Name        last Name




21. Other. S p e c i f y : - - - - - - - - - - - - - - - - - - - -                                                    21.       +$          0.00


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                  22a.
                                                                                                                            1   ~------2.~:9941
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                          22b.          $          0.00 i
    22c. Add line 22a and 22b. The result is your monthly expenses.                                               22c.                  2,489.94
                                                                                                                                                   I
                                                                                                                                $
                                                                                                                                                   J


23. Calculate your monthly net Income.
                                                                                                                                 $      3,875.00
   23a.    Copy line 12 (your combined monthly income) from Schedule I.                                           23a.

   23b.    Copy your monthly expenses from line 22c above.                                                        23b.          -$      2,489.94

   23c.    Subtract your monthly expenses from your monthly income.
                                                                                                                                 $      1,385.06
           The result is your monthly net income.                                                                 23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

   For example, do you expect to finish paying for your car loan within the year or do you expect your
   mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   Ga   No.
   0    Yes.     Explain here:




Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
                                   Case 18-15580-RBR
                                                                   -    Doc 15                     Filed 05/24/18                    Page 33 of 45


Fill 1n th1s mformat1on to 1dent1fy your case·


Debtor 1              MARIA               ROSA              KOROLYZEN
                      First Name              Middle Name              Last Name

Debtor2
(Spouse,   ~filing)   First Name              Mktdle Name              Last Name


United States Bankruptcy Court for the: Southern District of Florida

Case number            18-15580-R B R
(If known)

                                                                                                                                                     D   Check if this is an
                                                                                                                                                         amended filing



 Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                               12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

 You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both.18 U.S.C. §§ 152,1341,1519, and 3571.



                      Sign Below



      Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

      Iii No
      0 Yes.            Name of person_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                              Signature (Official Form 119).




      Und r penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that hey are true and correct.




                                                                          Signature of Debtor 2


                                                                          Date
                                                                                   7M"'M:-:-/-:O:-::O:-:-/--:yyyy=:-:--




  Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
                                        Case 18-15580-RBR              Doc 15         Filed 05/24/18         Page 34 of 45


   F;ll 1n this mformat1on to ;dent;fy your case


   Debtor 1             MARIA                   ROSA                   KOROLYZEN
                        First Name              Middle Name               Last Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name               Last Name


   United States Bankruptcy Court for the: Southern District of Florida

   Case number          18-15580-RB R
   (If known)                                                                                                                       D   Check if this is an
                                                                                                                                        amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 Information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


   1. What Is your current marital status?

        0    Married
        I5ZI Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

       1:51 No
       0 Yes. List all of the places you lived in the last 3 years.    Do not include where you live now.

                Debtor 1:                                         Dates Debtor 1      Debtor 2:                                          Dates Debtor 2
                                                                  lived there                                                            lived there

                                                                                      0   Same as Debtor 1                              0   Same as Debtor 1


                                                                  From                                                                      From
                 Number              Street                                               Number Street
                                                                  To                                                                        To



                 City                         State ZIP Code                              City                   State ZIP Code


                                                                                      0   Same as Debtor 1                              0   Same as Debtor 1


                                                                  From                                                                      From
                 Number              Street                                               Number Street
                                                                  To                                                                        To



                City                          State ZIP Code                              City                   State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        0    No
        0    Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



                  Explain the Sources of Your Income

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 1
                              Case 18-15580-RBR                          Doc 15          Filed 05/24/18                Page 35 of 45


Debtor1        MARIA                         ROSA                     KOROLYZEN                          Case number (ffknown)   18-15580-RBR
               First Name      Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     0    No
     6a   Yes. Fill in the details.



                                                          Sources of Income              Gross Income              Sources of income          Gross Income
                                                          Check all that apply.          (before deductions and    Check all that apply.      (before deductions and
                                                                                         exclusions)                                          exclusions)


           From January 1 of current year until            6a     Wages, commissions,
                                                                                                    8,000.00
                                                                                                                   0   Wages, commissions,
                                                                  bonuses, tips          $                             bonuses, tips          $
           the date you filed for bankruptcy:
                                                           0      Operating a business                             0   Operating a business


           For last calendar year:                         6a     Wages, commissions,                              0   Wages, commissions,
                                                                  bonuses, tips          $        20,003.00            bonuses, tips          $
           (January 1 to December 31,2017
                                             yyyy
                                                           0      Operating a business                             0   Operating a business



           For the calendar year before that:              li!l   Wages, commissions,                              0   Wages, commissions,
                                                                  bonuses, tips                                        bonuses, tips
                                                                                         $          5,202.00                                  $
           (January 1 to December 31,2016
                                             yyyy
                                                           0      Operating a business                             0   Operating a business




 5. Did you receive any other Income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     Iii No
     0    Yes. Fill in the details.



                                                           Sources of Income             Gross income from          Sources of Income         Gross Income from
                                                           Describe below.               each source                Describe below.           each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)



            From January 1 of current year until                                         $_____________ ---------------- $___________
            the date you filed for bankruptcy:                                           $____________ --------------- $___________
                                                                                         $____________ --------------- $___________

                                                                                         $____________                                        $_ _ _ _ __
            For last calendar year:
                                                                                         $____________                                        $___________
            (January 1 to December 31 .~
                                             yyyy
                                                                                         $____________                                        $___________



            For the calendar year before that:                                           $__________                                          $___________

            (January 1 to December31,2016           )                                    $.__________                                         $___________
                                             yyyy
                                                                                         $____________                                        $___________




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page2
                                Case 18-15580-RBR                     Doc 15        Filed 05/24/18              Page 36 of 45


Debtor 1      MARIA                           ROSA                   KOROLYZEN                     Case number (if known)   18-15580-RBR
               First Name       Middle Name           Last Name




              List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1 's or Debtor 2's debts primarily consumer debts?

     D     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               D      No. Go to line 7.

               D      Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               • Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     6!1   Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               liZI   No. Go to line 7.

               D      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid          Amount you still owe    Was this payment for...
                                                                      payment

                                                                                    $____________ $____________
                                                                                                                                       D Mortgage
                       Creditors Name
                                                                                                                                       Dear

                       Number   Street                                                                                                 D Credit card
                                                                                                                                       D Loan repayment
                                                                                                                                       D Suppliers or vendors

                       City                               ZIP Code
                                                                                                                                       D Other _ _ ___
                                              State



                                                                                    $___________ $____________
                                                                                                                                       D Mortgage
                       Creditors Name
                                                                                                                                       Dear

                       Number   Street                                                                                                 D Credit card
                                                                                                                                       D Loan repayment
                                                                                                                                       D Suppliers or vendors
                                                                                                                                       D Other _ _ ___
                       City                   State       ZIP Code




                                                                                    $____________ $____________
                                                                                                                                       D Mortgage
                       Creditors Name
                                                                                                                                       Dear

                       Number   Street
                                                                                                                                       D Credit card
                                                                                                                                       D Loan repayment
                                                                                                                                       D Suppliers or vendors
                                                                                                                                       D Other _ _ ___
                       City                   State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3
                                   Case 18-15580-RBR                    Doc 15        Filed 05/24/18              Page 37 of 45


Debtor1         MARIA                            ROSA                KOROLYZEN                       Case number (ff known)   18-15580-RBR
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

     C!i   No
     0     Yes. List all payments to an insider.
                                                                        Dates of     Total amount       Amount you still      Reason for this payment
                                                                        payment      paid               owe

                                                                                     $_ _ _ _ $_ _ __
            Insider's Name



            Number        Street




            Cily                                 Stale   ZIP Code


                                                                                     $._ _ _ _ $._ _ __
            Insider's Name


            Number        Streel




            Cily                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
    Include payments on debts guaranteed or cosigned by an insider.

     C!i   No
     0     Yes. List all payments that benefited an insider.

                                                                       Dates of       Total amount      Amount you still      Reason for this payment
                                                                       payment        paid              owe
                                                                                                                              Include creditor's name

                                                                                     $_________ $_________
            Insider's Name



            Number        Street




            City                                 State   ZIP Code



                                                                                     $_________ $_________
            Insider's Name



            Number        Street




            Cily                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page4
                                 Case 18-15580-RBR                             Doc 15         Filed 05/24/18                Page 38 of 45


Debtor 1        MARIA                               ROSA                    KOROLYZEN                          Case number (ffknown)    18-15580-RBR
                First Name            Middle Name            Last Name




                Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     0     No
     Gil   Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                      Status of the case

                                                                   FORECLOSURE                           Broward County Courthouse
            case title   One West Bank FSB                                                              Court Name
                                                                                                                                                              0     Pending

             v.Maria Korolyzen
                                                                                                                                                              0     Onappeal
                                                                                                         201 SE 6th ST.
                                                                                                        Number     Street                                     lia   Concluded

            Case number       CACE1 0031107                                                              FT. Lauderdale                 FL          33301
                                                                                                        City                    State    ZIP Code




            Case title_ _ _ _ _ _ _ _ _ __                                                              Court Name
                                                                                                                                                              0     Pending

                                                                                                                                                              D     Onappeal

                                                                                                        Number     Street                                     D     Concluded

            Case number
                                                                                                        City                    State    ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     ~     No. Go to line 11.
     0     Yes. Fill in the information below.

                                                                              Describe the property                                          Date           Value of the property



                                                                                                                                                            $._ _ _ __
                 Cred~or's   Name



                 Number      Street                                           Explain what happened

                                                                              D    Property was repossessed.
                                                                              0    Property was foreclosed.
                                                                              0    Property was garnished.
                 City                               State   ZIP Code          D    Property was attached, seized, or levied.

                                                                              Describe the property                                          Date            Value of the propert)



                                                                                                                                                             $. _ _ _ __
                 Creditor's Name



                 Number      Street
                                                                              Explain what happened

                                                                              0    Property was repossessed.
                                                                              0    Property was foreclosed.

                 City                               State   ZIP Code
                                                                              0    Property was garnished.
                                                                              0    Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 5
                                Case 18-15580-RBR                           Doc 15          Filed 05/24/18            Page 39 of 45


Debtor1           MARIA                           ROSA                   KOROLYZEN                        Case number (ffknown)   18-15580-RBR
                  First Name     Middle Name              last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ~No
     0     Yes. Fill in the details.

                                                                  Describe the action the creditor took                             Date action      Amount
                                                                                                                                    was taken
           Credito(s Name


                                                                                                                                                     $,_ _ _ _ __
           Number     Street




           City                           State    ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     6ll   No
     0     Yes


                  List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     6ll   No
     D     Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600            Describe the gifts                                                Dates you gave      Value
            per person                                                                                                              the gifts



                                                                                                                                                      $_ _ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                      $_ _ __


           Number      Street



           City                           State    ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600             Describe the gifts                                                Dates you gave     Value
           per person                                                                                                               the gifts


                                                                                                                                                       $_ _ __
           Person to Whom You Gave the Gift


                                                                                                                                                       $_ _ _ _ _


           Number      Street



           City                           State    ZIP Code


           Person's relationship to you _ _ _ _ __



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                                  Case 18-15580-RBR                             Doc 15           Filed 05/24/18               Page 40 of 45


Debtor 1          MARIA                           ROSA                       KOROLYZEN                           Case number Iff known)   18-15580-RBR
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     ~No
     0     Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                           Date you          Value
            that total more than $600                                                                                                       contributed



                                                                                                                                                              $_ _ _ _ _
           Charity's Name


                                                                                                                                                              $_ _ _ __


           Number      Street




           City           State        ZIP Code




                   List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     [il   No
     0     Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                           Date of your      Value of property
            how the loss occurred                                                                                                           loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule AlB: Property.


                                                                                                                                                              $_ _ _ __




                  List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     Ga    No
     0     Yes. Fill in the details.

                                                                     Description and value of any property transferred                      Date payment or   Amount of payment
                                                                                                                                            transfer was
            Person Who Was Paid                                                                                                             made


            Number       Street                                                                                                                               $._ _ _ __


                                                                                                                                                              $_ _ _ __

            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment. ff Not You



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7
                                  Case 18-15580-RBR                          Doc 15          Filed 05/24/18                Page 41 of 45


Debtor1       MARIA                             ROSA                      KOROLYZEN                          Case number (ff known)   18-15580-RBR
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred                   Date payment or      Amount of
                                                                                                                                       transfer was made    payment


           Person Who Was Paid
                                                                                                                                                           $._ _ _ __

           Number       Street
                                                                                                                                                           $. _ _ _ __



           City                        State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

     !if No
    0     Yes. Fill in the details.

                                                                   Description and value of any property transferred                   Date payment or     Amount of payment
                                                                                                                                       transfer was
                                                                                                                                       made
           Person Who Was Paid

                                                                                                                                                           $._ _ _ __
           Number        Street


                                                                                                                                                           $._ _ __

           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     ~No
     0    Yes. Fill in the details.

                                                                   Description and value of property        Describe any property or payments received        Date transfer
                                                                   transferred                              or debts paid In exchange                         was made

           Person Who Received Transfer


           Number        Street




           City                        State    ZIP Code


           Person's relationship to you _ _ _ __



           Person Who Received Transfer



           Number        Street




           City                        State    ZIP Code

           Person's relationship to you _ _ _ __

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
                                    Case 18-15580-RBR                             Doc 15        Filed 05/24/18              Page 42 of 45


Debtor 1         MARIA                            ROSA                       KOROLYZEN                         Case number (if known)   18-15580-RBR
                    First Name      Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     liZI   No
     0      Yes. Fill in the details.

                                                                     Description and value of the property transferred                                            Date transfer
                                                                                                                                                                  was made


            Name of trust




                 List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or Instruments held In your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     liZI   No
     0      Yes. Fill in the details.

                                                                     Last 4 dlgHs of account number      Type of account or             Date account was       Last balance before
                                                                                                         instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                        or transferred

             Name of Financial Institution
                                                                             ___ _
                                                                     )()()()(-                            0   Checking                                         $_ _ _ _

             Number       Strest                                                                          0   Savings

                                                                                                          0   Money market

                                                                                                          0   Brokerage
             City                        State    ZIP Code                                                00ther_ _ __




             Name of Financial Institution
                                                                             ___ _
                                                                     )()()()(-                            0   Checking                                         $._ _ __
                                                                                                          0   Savings

             Number       Street                                                                          0   Money market

                                                                                                          0   Brokerage
                                                                                                          00ther_ _ __
             City                        State    ZIP Code

 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     Gl     No
     0      Yes. Fill in the details.
                                                                     Who else had access to it?                      Describe the contents                            Do you still
                                                                                                                                                                      have It?

                                                                                                                                                                      0   No
             Name of Financial Institution                          Name
                                                                                                                                                                      0   Yes


             Number        Street                                   Number       Strest


                                                                    City           State   ZIP Code
             City                        State    ZIP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 9
                                    Case 18-15580-RBR                             Doc 15             Filed 05/24/18                  Page 43 of 45


Debtor1            MARIA                          ROSA                        KOROLYZEN                                 Case number (if known)   18-15580-RBR
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    121 No
     0     Yes. Fill in the details.
                                                                     Who else has or had access to It?                        Describe the contents                 Do you still
                                                                                                                                                                    have it?

                                                                                                                                                                     ONo
             Name of Storage Facility                                Name
                                                                                                                                                                     0Yes

             Number       Street                                     Number    Street


                                                                     CityState ZIP Code

             City                        State     ZIP Code



                      Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     G4 No
     0      Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property              Value



             Owner's Name                                                                                                                                        $_ _ __

                                                                   Number     Street
             Number        Street



                                                                   City                            State     ZIP Code
             City                        State     ZIP Code


                      Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     121    No
     0      Yes. Fill in the details.
                                                                     Governmental unit                           Environmental law, if you know it              Date of notice




            Name ofsite                                             Governmental unit


            Number       Street                                     Number    Street


                                                                    City                  State   ZIP Code



            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 10
                                   Case 18-15580-RBR                             Doc 15                 Filed 05/24/18              Page 44 of 45


Debtor 1        MARIA                            ROSA                        KOROLYZEN                                 Case number (ffknown)   18-15580-RBR
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Iii   No
     D     Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, If you know it                    Date of notice



            Name of site                                          Governmental unit


            Number        Street                                  Number     Street



                                                                  City                  State    ZIP Code


            City                        State    ZIP Code


 26. Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     6ZI   No
     D     Yes. Fill In the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title_ _ _ _ _ _ _ _ _ _ __
                                                                    Court Name
                                                                                                                                                                         D    Pending

                                                                                                                                                                         D   Onappeal

                                                                    Number     Street                                                                                    D   Concluded


           Case number                                              City                        State   ZIP Code



                     Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
           D    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           Gl A member of a limited liability company (LLC) or limited liability partnership (LLP)
           D    A partner in a partnership
           D    An officer, director, or managing executive of a corporation
           D    An owner of at least 5% of the voting or equity securities of a corporation

     D     No. None ofthe above applies. Go to Part 12.
     Iii   Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Korolyzen Investments LLC                                                                                                  Do not include Social Security number or ITIN.
            Business Name
                                                                   R.E INVESTMENTS
            19548 S. Whitewater Ave.                                                                                                   EIN: _ _        -------
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed


            Weston                       FL       33332
            City                        State    ZIP Code
                                                                    Describe the nature of the business                                Employer Identification number
            MVBG Consulting and                                                                                                        Do not include Social Security number or ITIN.
            Business Name
                                                                   Consulting and Investment Services
            Investment Services LLC.                                                                                                   EIN: _ _        -------
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            14629 SW 104 ST.#509

            Miami                        FL.      33186
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                      page 11
                                    Case 18-15580-RBR                         Doc 15          Filed 05/24/18              Page 45 of 45


Debtor 1         MARIA                            ROSA                     KOROLYZEN                         Case number (ffknown)   18-15580-RBR
                    First Name      Middle Name              Last Name




                                                                                                                             Employer Identification number
                                                                     Describe the nature of the business
             Dynasty Bulldog                                                                                                 Do not include Social Security number or ITIN.
             Business Name

                                                                                                                             EIN: _ _        -------
             19548 S. Whitewater Ave.
             Number        Street
                                                                     Name of accountant or bookkeeper                        Dates business existed



             Weston                       FL      33332                                                                      From 03/07/2016To 09/22/2017
             City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     !ill   No
     D      Yes. Fill In the details below.

                                                                     Date Issued




             Name                                                    MM/00/YYYY



             Number        Street




             City                        State    ZIP Code




                    Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      an wers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in nnection with a bankrup y case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 .S.C.§§ 152, 1341, 1519, nd 3571.




                                                                                     Signature of Debtor 2


                                                                                     Date _ _ _ _ __

                     attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       5ll    No
       D      Yes



      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       lit   No
       0     Yes. Name of person, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                    Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
